                                      Case 18-23422-LMI            Doc        Filed 05/04/20             Page 1 of 8

Fill in this information to identify the case:

Debtor 1              Cecilia Diaz

Debtor 2              Lazaro Diaz
(Spouse, if filing)

United States Bankruptcy Court for the : Southern                 District of Florida
                                                                             (State)

Case number           18-23422-LMI



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:              PennyMac Loan Services, LLC                        Court claim no. (if known):         2

Last four digits of any number you               XXXXXX3255                       Date of payment change:
use to identify the debtors’ account:                                             Must be at least 21 days after date of                6/1/2020
                                                                                  this notice

                                                                                  New total payment:
                                                                                  Principal, interest, and escrow, if any               $1,812.37

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtors’ escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:         $ 883.10                                       New escrow payment :            $ 890.87

Part 2:         Mortgage Payment Adjustment

2.     Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
       variable-rate note?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                        %                              New interest rate:          %

             Current principal and interest payment:       $ _________                    New principal and interest payment:             $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtors’ mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                           New mortgage payment:             $ _________




Official Form 410S1                              Notice of Mortgage Payment Change                                                   page 1
                                  Case 18-23422-LMI                Doc       Filed 05/04/20               Page 2 of 8

 Debtor 1            Cecilia Diaz                                                              Case number (if known) 18-23422-LMI
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Neisi Garcia Ramirez                                                                      Date      4/29/2020
     Signature

Print:         Neisi                                                    Garcia Ramirez            Title     Authorized Agent
               First Name            Middle Name                        Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                          30076
               City                          State                       ZIP Code

Contact phone      954-332-9426                                                                    Email    Neisi.GarciaRamirez@mccalla.com
***If the Debtor and lender are currently participating in the Mortgage Modification Mediation Program, this Notice of Payment Change is for notice
purposes only and will be abated pending the outcome of the mediation. If the Debtor does not modify the mortgage, the notices will be effective
pursuant to the Notice of Payment Change.




Official Form 410S1                            Notice of Mortgage Payment Change                                               page 2
                   Case 18-23422-LMI       Doc     Filed 05/04/20     Page 3 of 8

                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                                       Bankruptcy Case No.: 18-23422-LMI
 In Re:                                                Chapter:             13
          Cecilia Diaz                                 Judge:               Laurel M. Isicoff
          Lazaro Diaz

                                   CERTIFICATE OF SERVICE

       I, Neisi Garcia Ramirez, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama
Road, Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Cecilia Diaz
691 East 35 Street
Hialeah, FL 33013

Lazaro Diaz
691 East 35 Street
Hialeah, FL 33013

Ricardo Corona, Esq.                           (served via ECF Notification)
3899 Northwest 7 St, Second Floor
Miami, FL 33126

Nancy K. Neidich, Trustee                      (served via ECF Notification)
P.O. Box 279806
Miramar, FL 33027

U.S. Trustee                                   (served via ECF Notification)
51 S.W. 1st Ave., Suite 1204
Miami, FL 33130
               Case 18-23422-LMI   Doc    Filed 05/04/20   Page 4 of 8




     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:   5/4/2020     By:    /s/Neisi Garcia Ramirez
                 (date)            Neisi Garcia Ramirez
                                   Authorized Agent for PennyMac Loan Services, LLC
                        Case 18-23422-LMI             Doc        Filed 05/04/20         Page 5 of 8                   1 of 4

                                                                            Escrow Account Disclosure Statement
                                 P.O. Box 514387
                                 Los Angeles, CA 90051 4387
                                                                                      Statement Date: April 7, 2020
                                                                                      Loan Number:

                                                                                      Property Address:
                                                                                      691 E 35 ST
                                                                                      HIALEAH FL 33013

                                                                                         Questions? Visit our website @
                                                                                         www.PennyMacUSA.com
CECILIA DIAZ
LAZARO DIAZ                                                                              (800) 777 - 4001 (Se Habla Español)
691 E 35TH ST                                                                            M - F: 6:00 AM - 6:00 PM PT
HIALEAH, FL 33013-3139                                                                   Sat: 7:00 AM - 11:00 AM PT


Annual Escrow Account Review
At least once each year, PennyMac Loan Services, LLC (“PennyMac”) reviews your escrow account to make sure there
is enough money to pay your property taxes and/or insurance premiums. This statement informs you of any
adjustments to your monthly payment, shows you how much money you currently have in your escrow account and
how much you will need in the next 12 months.

Your New Mortgage Payment

During the next year, we expect your escrow account balance to have enough money to pay your taxes and/or
insurance payments as they come due.

               Description               Current Monthly Payment Amount              New Monthly Payment Amount

    Principal and Interest                             $921.50                                 $921.50

    Escrow Payment                                     $883.10                                 $890.87

    Total Payment Amount                             $1,804.60                               $1,812.37

Please start making the 'New Monthly Payment Amount' on June 1, 2020. Payments due prior to this date should be
made at the 'Current Monthly Payment Amount' shown.

Projected Escrow Account Activity

Over the next year, PennyMac expects to pay $10,690.46 from your escrow account. Your new monthly escrow
payment is $890.87.
                        Escrow Item Description               Annual Amount           Monthly Amount
                   Hazard Ins:                                  $4,309.00
                   Mortgage Insurance:                          $1,595.40
                   County Tax:                                  $4,353.06
                   Flood Ins:                                    $433.00
                   Total Payments from Escrow:                 $10,690.46   ÷ 12 =         $890.87
                         Case 18-23422-LMI           Doc    Filed 05/04/20       Page 6 of 8              2 of 4

Projected Escrow Account Activity (Continued)

 Below is a projection of escrow account activity from June 01, 2020 through May 31, 2021. These amounts may
 change when the actual payments become due.

                                                                                         Mortgage
                                         Escrow           Tax         Insurance          Insurance   Projected
                Month                   Deposit(s)     Payment(s)    Payment(s)         Payment(s)    Balance
     Beginning Escrow Balance                                                                        $3,031.69
     Jun 2020                              $890.87         $0.00        $0.00             $132.95    $3,789.61
     Jul 2020                              $890.87         $0.00        $0.00             $132.95    $4,547.53
     Aug 2020                              $890.87         $0.00        $0.00             $132.95    $5,305.45
     Sep 2020                              $890.87         $0.00        $0.00             $132.95    $6,063.37
     Oct 2020                              $890.87         $0.00        $0.00             $132.95    $6,821.29
     Nov 2020                              $890.87     $4,353.06      $433.00             $132.95    $2,793.15
     Dec 2020                              $890.87         $0.00        $0.00             $132.95    $3,551.07
     Jan 2021                              $890.87         $0.00        $0.00             $132.95    $4,308.99
     Feb 2021                              $890.87         $0.00        $0.00             $132.95    $5,066.91
     Mar 2021                              $890.87         $0.00     $4,309.00            $132.95    $1,515.83 1
     Apr 2021                              $890.87         $0.00        $0.00             $132.95    $2,273.75
     May 2021                              $890.87         $0.00        $0.00             $132.95    $3,031.67
     Ending Escrow Balance                                                                           $3,031.67
     Totals                             $10,690.44     $4,353.06     $4,742.00          $1,595.40
 1
     Lowest projected balance.


Your Escrow Balance

 Based on the projected activity above, our review shows that your escrow balance has enough funds to pay your
 taxes and/or insurance as they come due.
                       Lowest Projected Balance                                   $1,515.83

                       Minimum Required Balance                                   $1,515.83


 PennyMac requires a minimum balance up to one-sixth of the estimated total annual payments from your escrow
 account, unless state law or your mortgage contract requires less to help cover any unexpected increase in taxes
 and/or insurance. The minimum required balance does not include mortgage insurance.
                                     Case 18-23422-LMI              Doc       Filed 05/04/20          Page 7 of 8
                                                                                                                                         3 of 4

             Escrow Account History
             The following is the statement of activity in your escrow account from June 01, 2019 through May 31, 2020.

             Last year, we anticipated that payments from your account would be made during this period equaling $10,608.07.
             Your lowest monthly balance should not have exceeded $1,496.12, or 1/6 of anticipated payments from the account,
             unless your mortgage contract or state law specifies a lower amount.

             The table below shows the Projected and Actual account history for the previous escrow account period.




                            Payments                                     Disbursements                                      Escrow Balance
Month         Projected          Actual         Projected       Description              Actual          Description         Projected             Actual
Beginning Escrow Balance                                                                                                       $5,084.48     ($8,844.88)

Jun 2019          $884.00       $1,539.38 *       $135.94         MIP/PMI                $135.94           MIP/PMI             $5,832.54     ($7,441.44)

Jul 2019          $884.00        $653.54 *        $135.94         MIP/PMI                $135.94           MIP/PMI             $6,580.60     ($6,923.84)

Aug 2019          $884.00        $884.00          $135.94         MIP/PMI                $135.94           MIP/PMI             $7,328.66     ($6,175.78)

Sep 2019          $884.00        $884.00          $135.94         MIP/PMI                $135.94           MIP/PMI             $8,076.72     ($5,427.72)

Oct 2019          $884.00           $0.00 *       $135.94         MIP/PMI                $704.88 *    Flood Ins, MIP/PMI       $8,824.78     ($6,132.60)

Nov 2019          $884.00       $1,768.00 *      $4,720.73 County Tax, Flood Ins,      $4,489.00 *    County Tax, MIP/PMI      $4,988.05     ($8,853.60)
                                                                  MIP/PMI

Dec 2019          $884.00        $884.00          $135.94         MIP/PMI                $132.95 *         MIP/PMI             $5,736.11     ($8,102.55)

Jan 2020          $884.00           $0.00 *       $135.94         MIP/PMI                $132.95 *         MIP/PMI             $6,484.17     ($8,235.50)

Feb 2020          $884.00       $2,421.54 *       $135.94         MIP/PMI                $132.95 *         MIP/PMI             $7,232.23     ($5,946.91)
Mar 2020          $884.00           $0.00 *      $4,527.94   Hazard Ins, MIP/PMI       $4,441.95 *    Hazard Ins, MIP/PMI      $3,588.29   ($10,388.86)2

Apr 2020          $884.00           $0.00 *       $135.94         MIP/PMI                  $0.00 *                             $4,336.35   ($10,388.86)2

May 2020          $884.00      $13,553.50 *E      $135.94         MIP/PMI                $132.95 *E        MIP/PMI             $5,084.41          $3,031.69

Ending Escrow Balance                                                                                                          $5,084.41      $3,031.69

Totals         $10,608.00      $22,587.96       $10,608.07                            $10,711.39
         2
          Lowest actual balance.
         An asterisk ‘*’ beside an amount indicates a difference from projected activity, either in the amount or the date.
         The letter ‘E’ beside an amount indicates that the payment has not yet occurred, but is estimated to occur as shown.
         At the time of analysis, PennyMac assumes that you will make all scheduled mortgage payments by or before the effective date of your new
         payment (shown in the Projected Escrow Account Activity section above).
Case 18-23422-LMI   Doc   Filed 05/04/20   Page 8 of 8
